                      IN UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE


  MICHELLE ALMANZA,                                )
                                                   )
         Plaintiff,                                )
                                                   )
  vs.                                              )          Civil Action No. 3:15-cv-389
                                                   )                 TAV/HBG
  JEFFERSON SESSIONS,                              )
  Attorney General,                                )
  United States Department of Justice,             )
                                                   )
         Defendant.                                )


                           MOTION TO QUASH TRIAL SUBPOENA


         Comes, Christopher English, by and through his counsel, the undersigned, and pursuant

  to Fed R. Civ. P. 45(d)(3)(A)(iii)&(iv) to respectfully move this Court to quash and/or excuse

  witness Christopher English from the trial subpoena issued by Plaintiff (attached) for the

  following reason.

         Mr. English has been diagnosed with a potentially debilitative disease, the specifics of

  which have been forwarded to counsel for the parties.

         Mr. English’s physician, Dr. Jack E. Scarino, a board certified Neurologist, has stated and

  reiterated, upon interview to the undersigned, that “stress is one major cause for relapses which

  further advance the [diagnosed] affliction” and which “puts [Mr. English] at a much higher risk

  for stroke, can cause severe mood swings, fatigue, cognitive problems and memory loss.” It is,

  therefore, Dr. Scarino’s opinion that Mr. English “should not be put on the witness stand.”




Case 3:15-cv-00389-TAV-HBG Document 75 Filed 06/06/18 Page 1 of 3 PageID #: 4861
          In discussions with counsel, alternatives to live witness testimony were proposed, such as

  video examination. Dr. Scarino has deemed this possibility as equally prohibitive to Mr.

  English’s health.

          Dr. Scarino’s opinion is that written questions submitted by both parties and written

  answers provided therefrom is the least burdensome and therefore most tenable alternative to Mr.

  English’s appearance. Mr. . English was previously deposed by both parties during the discovery

  phase of this case.

          It is respectfully requested that Mr. English’s specific condition be disclosed to the Court

  in a confidential setting.

          For the foregoing reasons, it is respectfully requested that the Court grant this Motion

  Quash the Trial Subpoena, excuse Mr. English from the subpoena or impose less burdensome

  alternatives.

                  Respectfully submitted this 6th day of June, 2018.


                                                       /s/ Hugh B. Ward, Jr.
                                                       Hugh B. Ward, Jr. (BPR No. 015071)
                                                       YOUNG, WILLIAMS & WARD, PC
                                                       300 Montvue Road
                                                       Knoxville, TN 37919
                                                       Phone: (865) 637-1440

                                                       COUNSEL FOR CHRISTOPER ENGLISH


                                   CERTIFICATE OF SERVICE

          I hereby certify that on this 6th day of June, 2018, a copy of the foregoing was filed
  electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
  system to all parties indicated on the electronic filing receipt. Parties may access this filing
  through the Court’s electronic filing system.




                                                   2

Case 3:15-cv-00389-TAV-HBG Document 75 Filed 06/06/18 Page 2 of 3 PageID #: 4862
                                           /s/ Hugh B. Ward, Jr.
                                           Hugh B. Ward, Jr.




                                       3

Case 3:15-cv-00389-TAV-HBG Document 75 Filed 06/06/18 Page 3 of 3 PageID #: 4863
